














IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-78,111-01






EX PARTE JOSEPH GAMBOA








ON APPLICATION FOR POST-CONVICTION WRIT OF HABEAS CORPUS


CAUSE NO. 2005-CR-7168A IN THE 379TH DISTRICT COURT


BEXAR COUNTY






	Per Curiam.   Hervey, j., not participating.



O R D E R



	In March 2007, a jury found applicant guilty of the offense of capital murder.  The
jury answered the statutory punishment questions in such a way that the trial court set
applicant's punishment at death.  On July 14, 2008, the State filed in this Court its brief
on applicant's direct appeal.  Pursuant to Article 11.071 §§ 4(a) and (b) (1), applicant's
initial application for a writ of habeas corpus was due to be filed in the trial court on or
before November 26, 2008, assuming a motion for extension was timely filed and
granted.  It has been more than three years since the application was due in the trial court. 
Accordingly, we order the trial court to resolve any remaining issues within 90 days from
the date of this order.  The clerk shall then transmit the complete writ record to this Court
within 120 days from the date of this order.  Any extensions of time shall be obtained
from this Court.

	IT IS SO ORDERED THIS THE 1ST  DAY OF AUGUST, 2012.


Do Not Publish

1.   Unless otherwise indicated all references to Articles refer to the Code of Criminal
Procedure.

